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AO 106 (Rev. 04/ 10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT                                                        NOV ·1 3 2017
                                                                     for the
                                                                                                                 Clerk, U.S. District & Bankruptcy
                                                            District of Colum bia                               Courts for the District of Columbia

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )      Case: 1:17-mj-00855
          or identify the person by name and address)                   )      Assigned To : Chief Judge Howell, Beryl A.
    INFORMATION ASSOC IATED WITH THE EMAIL
       ACCOUNT             @GMAIL.COM
                                                                        )      Assign. Date : 11/13/2017
                                                                        )
                                                                        )
                                                                               Description: Search and Seizure Warrant

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to beli eve that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A2.
located in the               Northern             District of               California            , there is now concealed (identify the
                                                                ----..:....:....'------'----
person or describe the property to be seized):
 See Attachment B2.
 This warrant is sought purs uant to 18 U.S.C. §§ 2703(a), 2703(b)(1 )(A), and 2703(c)(1 )(A).

           The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                  ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  r.J property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
            Code Section                                                            Offense Description
        18 U.S.C. § 951;                           Acting as i:I foreign agent without notice to the Attorney General;
        18 U.S.C. § 1014                           False Statements to a financial institution;
        18 U.S.C. § 1344                           Bank Fraud
           The application is based on these facts:

       See attached Affidavit.

            b/   Continued on the attached sheet.
            O Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                 under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                               ignature

                                                                                                                pecial Agent, FBI
                                                                                                 Printed name and title

 Sworn to before me and.sigoed in my presence.


 Date:             11/14/2017
                                                                                                    Judge's signature

 C ity and state: Washington, D.C.                                                  Hon. Be ryl A. Howell, Chief U.S. District Judge
                                                                                                  Printed name and title
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF                    UNDER SEAL
INFORMATION AS SOCIATED WITH THE
EMAIL ACCOUNT
                                                     Case: 1:1 7-mj-00855
           @GMAIL.COM
                                                     Assigned To : Chief Judge Howell, Beryl A.
                                                     /\ssign. Date : 11/13/201 7
                                                     Description: Search and Seizure Warrant

                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I,                       eing first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information associated with the email address provided for the Google Mail ("Gmail") Account

               @gmail.com (hereinafter the "Target Account"), that is stored at premises owned,

maintained, controlled, or operated by Google, an email provider headquartered at 1600

Amphitheatre Parkway, Mountain View, CA 94043 (hereinafter "Google"). The information to

be searched is described in the following paragraphs and in Attachment A. This affidavit is made

in support of an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and

2703(c)(l)(A) to require Google to disclose to the government copies of the information (including

the content of communications) further described in Attachment A.           Upon receipt of the

information described in Attachment A, government-authorized persons will review that

information to locate the items described in Attachment B.

       2.       I am a Special Agent with Federal Bureau ofinvestigation ("FBI") assigned to FBI

Headquarters working directly with the Specia.!_Counsel' s Office. I have been a Special Agent

with the FBI since 2012. Since then, I have conducted national security investigations of foreign

intelligence services, espionage, and counterproliferation matters. I have training and experience


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related to foreign intelligence services national security investigations, as well as federal financial

crimes. I have conducted and participated in various investigations involving multiple threat

countries, as well as, national security threats and applicable criminal violations.

       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.       Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that MICHAEL DEAN COHEN has committed violations of 18

U.S.C. § 1014 (false statements to a financial institution), 18 U.S.C. § 1343 (wire fraud), 18 U.S.C.

§ 1344 (bank fraud), 18 U.S.C. § 1956 (money laundering), as well as 18 U.S.C. § 951 (acting as

an unregistered foreign agent) and the Foreign Agents Registration Act ("FARA"), 22 U.S.C.

§ 611 et seq. There is also probable cause to search the information described in Attachment A

for evidence, contraband, fruits, and/or instrumentalities of these crimes, further described in

Attachment B.

        5.      This Court has granted two prior search warrants for the Target Account, the first

on July 18, 2017 and the second on August 17, 2017; those search warrants limited the scope of

the search warrant to the period January 1, 2016 through the then-present. The present search

warrant seeks for broader authority to search the Target Account for the period June 1, 2015 to

the present.

                                          JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. Id.                §§ 2703(a), (b)(l)(A), &




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(c)(l)(A). Specifically, the Court is "a district court of the United States (including a magistrate

judge of such a court) . .. that has jurisdiction over the offense being investigated." 18 U.S.C.

§ 2711(3)(A)(i).

                                      PROBABLE CAUSE

       7.       As described below, the FBI is investigating COHEN in connection with, inter alia,

statements he made to a known financial institution (hereinafter "Bank 1") in the course of opening

a bank account held in the name of Essential Consultants, LLC and controlled by COHEN. The

FBI also is investigating COHEN in connection with funds he received from entities controlled by

foreign governments and/or foreign principals, and the activities he engaged in the United States

on their behalf without properly disclosing such relationships to the United States government.

                A.     Michael Cohen

       8.       According to press reports and bank records collected during the investigation,

COHEN served for over a decade as an executive in the Trump Organization, an international

conglomerate with real estate and other holdings controlled by President Donald Trump prior to his

presidency.    Until approximately January 2017, COHEN was reported to have held various

positions within the Trump Organization. During an interview with The Wall Street Journal in or

around January 2017, COHEN described his role as being "the fix-it guy .... Anything that [then-

President-elect Trump] needs to be done, any issues that concern him, I handle." 1

        9.      In or around January 2017, COHEN made public statements that he would resign

from the Trump Organization to serve as the personal attorney for President Trump (serving as an

attorney to the President in his personal capacity, as opposed to as a member of the White House




1
 "Intelligence Dossier Puts Longtime Trump Fixer in Spotlight," Wall Street Journal, Jan. 11,
2017.


                                                  3
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Counsel' s Office). COHEN recently has identified himself publicly-including on his personal

Twitter account-as a personal attorney for the President. Similarly, based on emails recovered

from the Target Account, COHEN describes himself as a personal attorney for the President in his

signature block.

       10.     As described in more detail below, on or about March 23, 2017, COHEN submitted

paperwork to Bank 1, with whom he had a prior banking relationship and several existing accounts,

for the purpose of opening a new account.      In the section for customers to provide contact

information, COHEN, by hand, struck out a previously provided e-mail address and in its place

wrote the Target Account as his current e-mail address.

               B.     Essential Consultants, LLC

       11.     In or around June 2017, federal agents reviewed information supplied by Bank 1

based on activity that Bank 1 had observed from a number of accounts related to COHEN.

According to information provided by Bank 1, COHEN has been a customer since approximately

June 2011 and controls several checking and loan accounts, some in his personal name and others

in the names of corporate entities. Agents have subsequently reviewed documents and records

provided by Bank 1 related to COHEN and these various accounts.

        12.    Records provided by Bank 1 show that on or about October 26, 2016, COHEN

opened a new checking account in the name of Essential Consultants, LLC ("Essential

Consultants"); COHEN was the only authorized signatory on the account. On the paperwork

associated with opening the account, COHEN listed his Trump Organization Account for contact

purposes. Corporate records show that Essential Consultants is a Delaware entity formed by

COHEN on or about October 17, 2016.

        13.    According to information provided by Bank 1, when COHEN opened the Essential




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Consultants account, he made the following representations during the course of Bank l ' s know

your customer ("KYC") procedures:

              a. He was opening Essential Consultants as a real estate consulting company to collect

                 fees for investment consulting work;

              b. Ile intended to use his 1::xp1::rii;;m.;e;: in n:al estate to consult on commercial and

                 residential real estate deals;

              c. His typical clients were expected to be high net-worth domestic individuals; and

              d. His purpose in setting up the account was to keep the revenue from his consulting-

                  which he said was not his main source of income-separate from his personal

                  finances.

                  C.     Payment to Person 1

       14.        Records provided by Bank 1 show that, rather than using the Essential Consultants

bank account for real estate consulting work as he had represented, COHEN immediately used the

account upon opening to wire funds to an attorney ("Attorney l "), on behalf of that attorney's

client ("Person 1"), who according to press articles is an adult-film star who operates under a

professional alias and who was contemplating making public allegations that she had an extra-

marital affair with then-Presidential Candidate Trump.

        15.       More specifically, on or about October 18, 2016, the day after COHEN

incorporated Essential Consultants but approximately eight days before he opened the bank

account in its name at Bank 1, the website The Smoking Gun published a story alleging that

evidence suggested Person 1 and Trump had previously engaged in an extramarital relationship.2


2
  The Smoking Gun, "Donald Trump and the Porn Superstar," Oct. 18, 2016, available at
http://www.thesmokinggun.com/documents/celebrity/donald-trump-and-stormy-daniels-738920.



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The article also alleged that Person 1 had at one point hired Attorney 1 as her representative. 3

Later, on or about November 4, 2016, an article in The Wall Street Journal reported that Person 1,

represented by Attorney 1, had been "in discussions with ABC's 'Good Morning America' in

recent months to publicly disclose what she said was a past relationship with Mr. Trump, according

to people familiar with the talks."4

        16.    Telephone records show that two telephones registered to COHEN have been used

to contact a telephone number associated with Attorney 1. From in or around August 2016 through

the present, approximately 76 contacts have occurred between the two telephones registered to

COHEN and the telephone number associated with Attorney 1. Approximately two dozen calls

were exchanged between October 24, 2016 and November 4, 2016.

        17.    On or about October 26, 2016, the same day as the Bank 1 account was opened in

Essential Consultants' name, the account was funded via a $131 ,000 deposit from a different Bank

1 account related to a home equity line of credit ("HELOC") in COHEN's name and secured by

his personal residence at 502 Park Avenue (Trump Tower Park Avenue) Apt            New York, NY

10022. 5 COHEN had opened the account in or around February 2016 and had secured a $500,000

line of credit for the stated purpose of paying off an existing mortgage and HELOC-associated

loan costs.




3 On or about June 26, 2017, a review of a cached version of Attorney 1' s professional website
revealed that Attorney 1 listed Person 1, referred to by Person l ' s professional alias, as a
"representative client." (The current version of Attorney l's website no longer seems to identify
Person 1 by name or alias.)
4
  "National Enquirer Shielded Donald Trump from Playboy Model's Affair Allegation," Wall
Street Journal, Nov. 4, 2016.
5
  A HELOC is a form of lending that allows a borrower to secure a loan using the equity in a
residential property as collateral.


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       18.      Emails obtained from the Target Account in the course of the investigation further

establish that the Essential Consultants account opened at Bank 1 was not used for the purposes

represented by COHEN. For example:

             a. On or about October 26, 2016-the same day COHEN opened and funded the

                Essential Consultants account with $131,000 from COHEN's HELOC account-

                COHEN received an email at the Target Account from Attorney 1 with the subject

                "Wiring Instructions." The next day, on or about October 27, 2016, an outgoing

                wire transfer in the amount of $130,000 was made from the Essential Consultants

                account at Bank 1 to an account held in the name of Attorney 1' s law firm

                (hereinafter the "Attorney 1 IOLTA Account") at a bank based in Los Angeles

                ("Bank 2"). Records obtained from Bank 1 show that, on or about October 27,

                2016, an employee of Bank 1 sent an email to COHEN with the federal reference

                number for the $130,000 transfer of funds.

             b. Also on or about October 27, 2016, COHEN emailed Attorney 1 from the Target

                Account with the subject "wire on behalf of Essential Consultants LLC." In the

                email, COHEN asked Attorney 1 to "confirm that the wire received today, October

                27, 2016 shall be held by you in your attorney' s trust account until such time as

                directed for release by me, in writing.        Additionally, please ensure that all

                paperwork contains the correct name of Essential Consultants LLC." On or about

                October 27, 2016, Attorney 1 replied, stating "that no funds shall be disbursed

                unless & until the plaintiff personally signs all necessary settlement paperwork, (the

                form of which will match the prior agreement).-The settlement docs will name the




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                  correct corporation, (Essential Consultants LLC). Plaintiffs signature will be

                  notarized and returned to you via FedEx."

               c. On or about November 1, 2016, Attorney 1 sent an email to COHEN at the Target

                  Account with the subject "Facts." In the email, Attorney 1 wrote, "Give this a

                  lesson [~ii.;] aml lht:n l:all me·· and attached an audio recording between Person 1 and

                  Attorney 1. On the recording, Person 1 made statements in which she discredited

                  allegations made by another woman that President Trump had engaged in sexual

                  misconduct.

         19.      Based on the account activity (and the fact that it did not match what COHEN had

reported the expected activity would be), employees of Bank 1 investigated in order to determine

the ultimate disposition of the $130,000 in funds.            According to information provided by

employees of Bank 1, on or about November 1, 2016, a wire transfer in the amount of

approximately $96,645 was made from the Attorney 1 IOLTA Account to a bank account at a third

bank ("Bank 3") in the name of Person 1. A notation associated with the wire transfer to Person

1 indicated that the purpose of the payment was "net settlement." 6 The remaining $34,355 was

transferred from the Attorney 1 IOLTA Account to the operating account of Attorney l's law firm

at Bank 2.

         20.      By on or about November 4, 2016, The Wall Street Journal reported that Person 1

had cut off contact with "Good Morning America," notwithstanding previous discussions to

disclose her claimed relationship with Trump. The investigation has not identified any public

statements made by Person 1 about any relationship to President Trump since the above-described

transfer of funds to her account in or around November 2016.


6
    Records obtained from Bank 3 confirm the transfer and the notation.


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               D.      Representations about Net Worth to Financial Institutions

       21.     In connection with the ongoing investigation, the government has reviewed other

representations COHEN has made to Bank I and other financial institutions, including

representations regarding his net worth and financial position. A review to date has identified

substantial inconsistencies in COHEN's stated assets, liabilities, and net worth in separate

submissions between 2014 and 201 7.

       22.     For example, in or around October 2014, COHEN submitted a "Statement of

Financial Condition" as of August 1, 2014 to Bank 1. The document purported to depict COHEN' s

various assets and liabilities, as well as his net worth. On the document, COHEN claimed to have

assets totaling approximately $99,420,000 and liabilities of approximately $23,550,000. On the

same document, COHEN claimed to have a net worth of approximately $75,870,000.

       23.     In or around February 2016, in connection with obtaining the $500,000 HELOC

described above, COHEN submitted a summary of his assets, liabilities, and net worth to Bank 1.

COHEN claimed to have assets totaling approximately $63,435,315 and liabilities of approximately

$10,419,209. On the same document, COHEN claimed to have a net worth of approximately

$53,016,106.

             a. In addition, documents collected from Bank 1 show that COHEN made

                representations to Bank 1 that he had no contingent liabilities, when in fact, based

                on documents COHEN submitted to another FDIC-insured financial institution

                ("Bank 5," described below), COHEN and his wife had personally guaranteed over

                $20 million in loans associated with taxi medallions. In or around August 2017, an

                employee of Bank 1 who served as COHEN's main point of contact at the bank




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                 confirmed that COHEN did not disclose any contingent liabilities, despite that being

                 a standard question that he had to answer whenever seeking monies.

       24.       In or around May 2017, COHEN was part of a group of real estate investors that

sought a $2 million line of credit from an FDIC-insured financial institution ("Bank 4"), which

already held a $17 million loan on a property owned by the real estate group. In connection with

the loan request, Bank 4 requested COHEN submit a "net worth letter" in order to assess his

financial condition. On or about May 17, 2017, in response to the request, COHEN submitted a

letter to Bank 4 from an accountant. The letter stated that based on representations by COHEN to

the accountant, it was the accountant's understanding that as of May 1, 2017 "his [COHEN's]

current cash position and his various real estate investments holdings .. . [are] currently in excess

of $20.0 million." The letter did not disclose any liabilities.

              a. In November 2017, the government interviewed the accountant who signed the

                 May 2017 letter sent to Bank 4 ("Accountant 1"). The accountant explained that

                 COHEN had directed him to write the letter and specifically only to identify the

                 cash and real estate investment holdings, without identifying any other liabilities

                 that would offset those holdings.

        25.      Bank records show that COHEN has a lending relationship with a known FDIC-

insured financial institution ("Bank 5") collateralized by New York taxi medallions. Records show

that entities controlled by COHEN have approximately $20,000,000 in notes payable to Bank 5.7

According to interviews with Bank 5 employees, throughout 2017 COHEN repeatedly has sought


7
  The value of the collateral backing these loans (the taxi medallions) currently is worth
substantially less than the loans. In May 2017, COHEN himself estimated the medallions to be
worth only $13,950,000. Based on recent medallion sales, the collateral is potentially worth much
less. Documents collected from Bank 5 show that COHEN and his wife also signed agreements
making them personal guarantors of the $20,000,000 in loans.


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to renegotiate the terms of the loans and sought some debt relief from Bank 5 on these loans. During

the course of these negotiations, on or about June 8, 2017, COHEN sent Bank 5 a "Statement of

Financial Condition" as of May 1, 2017. The document submitted by COHEN was prepared by the

same accountant as the letter submitted to Bank 4 on or about May 17, 2017 (which said that

COHEN' s "current cash position and his various real estate investments holdings ... [as of May 1,

2017 are] currently in excess of $20.0 million" and did not disclose any liabilities). In contrast to

the document submitted to Bank 4, on the document submitted to Bank 5, however, COHEN

claimed to have a net worth of approximately $2,825,000. 8

              a. According to Accountant 1, at the time he prepared both the May 201 7 Statement of

                 Financial Condition and the letter sent to Bank 4, he had believed that COHEN was

                 going to give both documents to Bank 4 in order to give an accurate representation

                 of his financial condition. Accountant 1 stated that if he had been told the letter

                 would be submitted to Bank 4 as a stand-alone document, without the Statement of

                 Financial Condition disclosing the outstanding liabilities, he would not have

                 prepared the letter as directed.

                 E.      Foreign Transactions in the Essential Consultants Account

        26.      As set forth above, in or around October 2016, COHEN made several

representations to Bank 1 in connection with the bank's KYC review process, including that he

expected funds deposited into the Essential Consultants account would constitute income from his

consulting work, that his consulting clients were expected to be domestic (that is, within the United

States), and that he expected his clients to be U.S.-based, high-net worth individuals.



8
  COHEN claimed to have assets totaling approximately $41,955,000 and liabilities of
approximately $39,130,000.


                                                    11
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         27.     Records obtained from Bank 1 show substantial transactional activity that appears

to be inconsistent with these KYC representations. Bank 1 records show that the account received

numerous deposits from foreign businesses and entities that do not reflect the stated client profile

for the residential and commercial real-estate consulting services ostensibly being provided by

Essential Consultants. 9 Moreover, public records, media reports, and other publicly available

sources, as well as emails obtained during the course of the investigation, indicate that some of

these companies have significant ties to foreign governments or are entities controlled by foreign

governments.

         28.     A search in or around July 2017 of the U.S. Department of Justice database of all

agents currently or previously registered under the Foreign Agent Registration Act ("FARA")

confirmed that neither COHEN nor Essential Consultants is or has been a registered agent of a

foreign government. 10        All FARA registration is handled by the U.S. Department of Justice's

National Security Division in Washington, D.C.

                         1.       Deposits bv Columbus Nova, LLC

         29.     Telephone records related to COHEN' s cellplar telephone show that on or about

November 8, 2016, the day of the presidential election, a telephone registered to COHEN

exchanged the first in a series of text messages with the CEO of Columbus Nova, LLC ("Columbus

Nova"). Between approximately November 8, 2016 and November 6, 2017, telephone records

show over 1,000 contacts (calls and text messages) between COHEN's cellular telephones and the




9
  By contrast, based on a r~eview oi emails o_btained from the Target Account and records obtained
from Bank 1, the Essential Consultants account has not received any funds from residential or
commercial real-estate consulting services.
10
     The database is publicly available at https://www.fara.gov/.


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CEO of Columbus Nova. Telephone records show no such text messages or telephone calls

between COHEN's cellular telephone and the CEO of Columbus Nova prior to November 8, 20 16.

         30.     Public records show that Columbus Nova, LLC is an investment management firm

controlled by Renova Group ("Renova"), an industrial holding company based in Zurich,

Switzerland. According to public news account::;, Reuu va is controlled by Viktor Vekselberg, a

wealthy Russian national. Public news accounts also report that Vekselberg is an oligarch with

various connections to Russian President Vladimir Putin who publicly met with Putin as recently

as in or around March 2017. 11 According to the news articles, Vekselberg and Renova currently

are involved in various infrastructure projects in Russia, such as the building of an airport in Rostov

in advance of the 2018 FIFA World Cup, which is to be held in Russia. Vekselberg has been

involved in various symbolic acts seen to be in the Russian national interest, such as the purchase

and repatriation of historic Faberge eggs. 12

         31.     On or about January 10, 2017, COHEN received an email from the CEO of

Columbus Nova with the subject "About us / Russian Union of Industrialists and Entrepreneurs."

The CEO told Cohen, "This is the organization that Victor was mentioning yesterday.... He is the

head of this international relations committee of this group. . . . Will follow up with more later."

Similarly, records obtained from the Target Account show that COHEN had a calendar entry

entitled "Meeting with Victor," scheduled for on or about March 7, 2017 at the location "Renova."



11
     See, e.g., "Russia's Putin Meets Tycoon Vekselberg," Reuters, Mar. 14, 2017.
12
   On or about September 5, 2016, media outlets reported that Russian authorities arrested two of
Vekselberg's closest associates in connection with allegations that a subsidiary had paid over $12
million in bribes to Russian government officials. Some media accounts speculated that the arrest
ofVekselberg's associates, as well as the commensurate searches of Renova's head office, were
intended as a warning from the Russian government that it wanted some form of cooperation or
value from Vekselberg. See, e.g., "Another Billionaire Incurs Putin's Wrath," Bloomberg, Sept.
6, 2016.


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       32.      According to records obtained from Bank 1, since the beginning of 2017, the

Essential Consultants bank account received seven deposits, each in the amount of $83,333 (for a

running total of $583,332.96). The funds for all deposits- six of which were wire transfers and

one by check-came from an account at another bank held in the name of Columbus Nova, LLC.

The following table summarizes the funds transferred to date:
                                                          .,
             APPROXIMATE DATE                                      DEPOSIT

                January 31, 2017                                   $83,333.00

                 March 2, 2017                                     $83,333.33

                 March 31, 2017                                    $83,333.33

                 April 28, 2017                                    $83,333.33

                  June 1, 2017                                     $83,333 .33

                  June 30, 2017                                    $83,333.33

                 August 1, 2017                                    $83,333.33


       33.      Records obtained from the financial institution ("Bank 2") where the Columbus

Nova account is maintained illustrate that the funds used to pay COHEN originated from a second

account in the name of Renova US Management LLC ("Renova US"). For example:

             a. On or about January 27, 2017, the Columbus Nova account at Bank 2 received a

                deposit of$83,333 from an account held in the name of Renova US. The same day,

                a check for $83,333 drawn on the Columbus Nova account at Bank 2 was made out

                to Essential Consultants LLC.

             b. On or about March 2, 2017, the Columbus Nova account at Bank 2 received

                $83,333 from the Renova US account. The same day, the Columbus Nova account

                was used to $83,333 the Essential Consultants account at Bank 1.


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             c. On or about March 31 , 2017, the Columbus Nova account at Bank 2 received

                $83,333 from the Renova US account. The same day, the Columbus Nova account

                was used to wire $83,333 to the Essential Consultants account at Bank 1.

             d. On or about April 28, 2017, the Columbus Nova account at Bank 2 received $83,333

                from the Renova US account. The same day, the Columbus Nova account was used

                to wire $83,333 to the Essential Consultants account at Bank 1.

                       u.      Wire Transfers from a Kazakhstani Bank

       34.      On or about May 6, 2017, COHEN sent an email from the Target Account to an

individual believed to be Kenges Rakishev. Open-source records identify Kenges Rakishev as the

majority shareholder of Kazkommertsbank, another Kazakhstani bank that controls BTA Bank.

Rakishev is also the son-in-law of Kazakhstan's ambassador to Russia. According to press reports,

BTA Bank recently was implicated in a multi-billion dollar scandal in which a unit of BTA had

been used to issue billions of dollars' worth of credit for property development and other deals in

Russia, Ukraine, and Belarus that subsequently went bankrupt. 13

       35.      In the email sent from the Target Account on or about May 6, 2017, COHEN wrote

that it was an "honor to spend the evening with you" and that "[t]here are definitely a lot of mutual

relationships between the two of us that require our assistance." COHEN also proposed a meeting

the following week.



13
  More specifically, according to a Forbes article published in or around February 201 7, BTA
Bank' s auditors PricewaterhouseCoopers identified a $10 billion discrepancy on the bank's
balance sheets. Subsequent investigation by forensic accountants revealed that a unit of BTA had
been used to issue billions of dollars' worth of credit for property development and other deals in
Russia, Ukraine, and Belarus. The investigation also indicated that funds illicitly had been
removed from the bank through shell companies set up in the names of executives' family
members. See "How To Get Back A Lost $1 OB: One Bank's Tale in Europe's Biggest Alleged
Fraud," Forbes, Feb. 6, 2017.


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        36.     On or about May 10, 2017, COHEN sent an email to an individual believed to be a

BTA Bank executive with an attachment bearing the filename "BTA-1." The attachment contained

a purported invoice for $150,000 from Essential Consultants LLC to BTA Bank in the Republic of

Kazakhstan. The invoice, identified by invoice BTA-101 referred to a "monthly consulting fee"

pursuant to a "Services Agreemeul t:ult:rt::<.l in Lo on the 8th of May, 20 l 7." The invoice was directed

to the attention of Kenges Rakishev. COHEN also stated he the he would the Certificate of

Incorporation for Essential Consultants to the email (but appears not to have attached the

document).

        37.     On or about May 15, 2017, COHEN received an email through the Target Account

from an individual purporting to be Nurlan Abduov. According to open source information,

Abduov is a shareholder ofKazkommertsbank where between April 28, 2016 and July 31, 2017 he

held a position of Managing Director and member of the Board of Directors. In the email, Abduov

told COHEN that he was contacting him "on behalf ofKenes [sic] Rakishev." In the email, Abduov

also stated that the " [w] anted to check how we can start to work with you." In addition to COHEN,

Abduov's email was addressed to Kenges Rakishev at a different email address.

        3 8.    According to Bank I , on or about ~fay 22, 201 7, the Essential Consultants bank

account at Bank 1 received a $150,000 deposit from an account at Kazkommertsbank. According

to Bank 1, the listed account holder at Kazkommertsbank was a second Kazakhstani bank named

BTA Bank, AO. Bank 1 reported that a message accompanying the wire payment indicated that

the agreement was a "monthly consulting fee as per Inv BTA-101 DD May 10, 2017 consulting

agreement WIN DD 08 05 2017 CNTR W/NDD 08/05/2017."

        39.     Non-content information obtained pursuant to an 18 U.S.C. § 2703(d) court order

for a different email account used by COHEN                                 com) shows that COHEN,




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Rakishev, and others from BTA Bank remain in routine contact. Between approximately May 5,

2017 and October 9, 2017, COHEN, through the              com account, exchanged over eighty emails

with email accounts controlled by Rakishev and other BTA employees or executives.

                        111.   Deposits by Korea Aerospace Industries Ltd.

       40.       According to Bank 1, on or about May 10, 2017 and June 9, 2017, the Essential

Consultants bank account received two deposits in the amount $150,000 (totaling $300,000

between the two deposits) from a bank account in Seoul, South Korea. According to documents

obtained from Bank 1, the account holder from which the money was sent is Korea Aerospace

Industries Ltd. ("KAI"). According to its public website, KAI is a South-Korea-based company

that produces and sells fixed-wing aircraft, helicopter aircraft, and satellites.

              a. Public news accounts report that KAI has numerous interests in the U.S. defense

                 industry. For example, press accounts from early 2017 indicate that KAI has

                 partnered with Lockheed Martin to bid later this year on a $16 billion U.S. Air

                 Force T-X Trainer Jet Replacement Program. Likewise, on or about October 31,

                 2017, public media reported that KAI had received an order worth $48.8 million

                 for the maintenance, repair, and overhaul of 90 F-16 fighter jets operated by the

                 U.S. Air Force.

        41.      On or about April 28, 2017, COHEN sent an email from the Target Account to

another individual with the subject "Re: K Project." In the email, COHEN attached a document

purporting to be a "Consulting Agreement" between KAI and Essential Consultants LLC that was

to enter into effect on May 1, 2017. The document indicates that Essential Consultants would

render "consulting and advisory services, as requested" by KAI; no further information was

provided regarding the nature of the consulting and advisory services to be provided.          The




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document also indicated that KAI would pay Essential Consultants "a consulting fee of One

Million Two Hundred Thousand ($1,200,000.00) US Dollars," disbursed through eight $150,000

installments between May 201 7 and December 2017.

       42.     According to publicly available materials and press accounts, as well as the

company's financial disclosures, the Republic of Korea (South Korea) government has significant

ties to KAI. KAI itself was formed in 1999 as part of a government-led effort to consolidate South

Korea' s aerospace industry manufacturers into a new single entity. KAI holds the exclusive rights

for all of the government's military logistics and aerospace projects.14 The South Korean

government, through the Korea Development Bank, is the largest shareholder in KAI and its

largest debt holder. 15 According to information provided by Bank 1, messages related to the

transfer of funds from KAI indicated that the purpose of these payments was "consulting services."

       43 .    Non-content information obtained pursuant to an 18 U.S.C. § 2703(d) court order

for the account                     com show that COHEN has stayed in touched with KAI

employees. Between approximately May 21,201 and October 23, 2017, COHEN has sent seven

emails from the          com account to email addresses at KAI' s email domain (koreaaero.com)

and has received three emails from KAI email addresses through his             com account.

               F.      Payments to Essential Consultants in Connection to Political Activities

        44.    In addition to the sources of money connected to foreign governments that were paid

into the Essential Consultants account as set forth above, the account also was used to receive funds




14
  See, e. g., Andrew Tylecote & Francesca Visintin, Corporate Governance, Finance and the
Technological Advantage of_Nations (2008), at 165-66; Jnternational Business Publications,
Korea South: A "Spy " Guide (2016), at 229-31.
15
  KAI, Annual Report 2014, available at https://www.koreaaero.com/upload_images/new_pdf/
annuaVPDF/ Annual_report_ eng_2014.pdf.


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from U.S. and foreign corporations who appear to have approached COHEN in connection with

political objectives in the Trump administration.

                        1.      AT&T Inc.

         45 .     Beginning in or around April 2017, records from Bank 1 show the Essential

Consultants account has received apvruximaldy $300,000 in wire payments from a bank account

associated with the telecommunications company AT&T Inc. ("AT&T"), as summarized below:
                                                                      -
                APPROXIMATE DATE                                          DEPOSIT

                   April 14, 2017                                         $100,000

                    June 13, 2017                                         $50,000

                    July 17, 2017                                         $50,000

                   August 16, 2017                                        $50,000

                  September 6, 2017                                       $50,000


         46.      In or around October 2016, AT&T announced its intention to acquire media

conglomerate Time Warner Inc. ("Time Warner") for approximately $85 billion, creating one of

the largest integrated media-and-telecommunications companies in world. Given the size of both

companies and the potential antitrust implications, AT&T submitted the proposed deal to the U.S.

Department of Justice for review. As of early November 2017, public media reports indicate the

Department of Justice had not made a decision about the proposed acquisition and was, according

to one report, "preparing for litigation in case it decides to sue to block the deal." 16

         4 7.     While campaigning for president, President Trump made statements indicating he

disapproved of the proposed merger. For-example, on or about October 22, 2016, at a rally in



16
     "U.S. Weighs Suit Against AT&T's Deal for Time Warner," Wall Street Journal, Nov. 2, 2017.


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Pennsylvania, then-candidate Trump stated, "[a]s an example of the power structure I'm fighting,

AT&T is buying Time Warner and thus CNN, a deal we will not approve in my administration

because it's too much concentration of power in the hands of too few." After his election, the

president-elect continued to make similar statements. On or about January 17, 2017, president-

elect Trump stated "I have been on the record in the past of saying that [the proposed acquisition

is] too big and we have to keep competition." In the January 2017 statement, however, the

president-elect added the caveat, "I haven't seen any of the facts, yet."

       48.     Beginning in or around January 2017, telephone records show that that COHEN

began to have contact with executives at AT&T. For example, on or about January 20, 2017,

records show that a telephone number belonging to COHEN called a telephone registered to a senior

vice president of AT&T responsible for legislative affairs (the "AT&T Senior VP"). According to

public media reports, on or about January 12, 2017, the AT&T Senior VP and another high-ranking

AT&T executive had met with president-elect Trump in New York.

        49.    On or about February 3, 2017, records obtained from AT&T show that COHEN had

a seventeen-minute telephone call with a consultant for AT&T who handled global public affairs

for the company (the "AT&T Consultant"). Shortly before the call, the AT&T Consultant sent an

email to the AT&T Senior VP with the subject "Cohen backgrounder" and wrote, "I am meeting

with him at 10:30 this morning to finalize contract and talk w/ potential scope of work." Shortly

after the call, the AT&T Consultant 2 texted the AT&T Senior VP: "Just had Cohen call. Oh my.

All good. Eager to tell you about it."

        50.     On or about February 6, 2017, records obtained from AT&T show that the AT&T

Consultant emailed the AT&T Senior VP with the subject line "Michael_Cohen notes." The email,

which appears to recount a conversation with COHEN, stated that the AT&T Consultant believed




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COHEN would be "in town tomorrow - meeting w/ POTUS," 17 and that COHEN "made the point

several times that he doesn't list clients, doesn't talk about clients and hopes we won't be

publicizing that he's working w/ us. I assured him. And I hope he means it."

         51.    On or about February 15, 2017, records obtained from AT&T show that COHEN

met with the AT&T Senior VP and the AT&T Consultant at the company' s office in Rockefeller

Plaza. Shortly after the meeting, COHEN used the Target Account to send an email to both

individuals, writing "[g]reat to finally meet you today. Lots to do ... Can you please send me the

executed agreement so that I might counter sign and return to you?" The AT&T Consultant

responded to COHEN at the Target Account, "(g]reat meeting you as well. I'll send contract over

tomorrow."

         52.    Records obtained from the Target Account reveal a drafted contract between

Essential Consultants and AT&T. The contract contemplates that Essential Consultants "shall

render consulting and advisory services to the Company [AT&T]," adding that AT&T would

"advise Consultant of those issues and matters with respect to which AT&T Services desires

Consultant's assistance and advice." The contract calls for AT&T "to pay the Consultant for his

services . .. a consulting fee of Fifty Thousand ($50,000.00) Dollars ... per month."

         53 .   According to records obtained from AT&T, on or about April 11, 2017, COHEN

and the AT&T Consultant had a call to discuss the first payments to COHEN. On or about April

12, 2017, the AT&T Consultant emailed the AT&T Senior VP with the subject "Cohen," writing:

"Wants the talkers we discussed < says he's going to be w/ potus this weekend. You want me to

work w/[REDACTED]?" The AT&T Consultant then forwarded his email to two other AT&T

employees and arranged for a conference call to discuss the "talkers" referred to in the first email.


17
     The acronym "POTUS" stands for "President of the United States."


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          54.     On or about May 12, 2017, the AT&T Consultant emailed COHEN at the Target

Account, asking "Hey Michael, Have you heard anything new re merger?" COHEN responded,

"Please call me on my private (client only) cell number," providing him with a cellular telephone

number. On or about May 16, 2017, the AT&T Consultant emailed the AT&T Senior VP with the

subject "Recess appointment," writing that "[REDACTED] is talking w/ T sometime in the next 2

days. Cohen is seeing him Thursday. I asked [REDACTED] to add a couple questions to the

Morning Consult poll we use - should give us some strong numbers to bolster the argument for

doing."

          55.     Communications between COHEN and employees of AT&T have continued

recently. For example, on or about September 11 , 2017, COHEN, using the Target Account, sent

the AT&T Consultant two emails, including one with the message "[s]peak to you tomorrow." The

other email was a news article entitled "Michael Cohen Would Take a Bullet for Donald Trump,"

which profiled COHEN and his relationship to President Trump.

                        11.       Novartis Investments, SARL

          56.     Bank 1 records also show that since in or around April 2017, the Essential

Consultants account at Bank 1 has received deposits totaling $599,880 from a Swiss bank account

held in the name of Novartis Investments, SARL, as summarized below:

                APPROXIMATE DA TE                                  DEPOSIT

                      4/5/2017                                       $99,980

                      5/15/2017                                      $99,980

                      6/14/2017                                      $99,980

                      7/17/2017-                 -             -     $99;980

                      8/14/2017                                      $99,980




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                     9/1/2017                                          $99,980


Novartis Investments, SARL is the in-house financial subsidiary of the Swiss pharmaceutical

company Novartis International AG ("Novartis").

       57.      While campaigning for president, then-candidate Trump made statements indicating

he disapproved of the prices of pharmaceutical drug prices. For example, on or about January 25,

2016, candidate Trump suggested that Medicare could save $300 billion a year through stronger

negotiation with major pharmaceutical companies but that the government did not do so "[b]ecause

of the drug companies." After his election, president-elect Trump made similar statements. On or

about January 11, 2017, president-elect Trump stated, "We've got to get our drug industry back.

Our drug industry has been disastrous.... We're going to start [competitive] bidding and we're

going to save billions of dollars over a period oftime."

        58.     On or about January 16, 2017, COHEN, using his Trump Organization email

address, sent a contact an email asking him to pass a message along to a senior executive of Novartis

("Novartis Executive 1"). The message was a link to an article suggesting that the Trump

Administration would consider loosening drug approval standards as a way to bring down costs of

pharmaceutical drugs. Emails obtained from Novartis show that COHEN's contact did in fact

forward the email to Novartis Executive 1, who in turn sent the article to an assistant with a request

to print out the article.

        59.     On or about January 31, 2017, Novartis Executive 1 met with President Trump as

part of a meeting between pharmaceutical drug company executives and the new White House

administration. According to public reports, during the meeting President Trump "vow[ed] to

speed the approval of new medicines and ease regulation."



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       60.    On or about February 2, 2017, COHEN received an email from the above-

mentioned contact with Novartis Executive l's information. The information provided both

Novarti? Executive l 's official email address and a private email address. On or about February

3, 2017, Novartis Executive 1 emailed COHEN, "Hi Michael, I received your email. This is the

best way to reach me. Let's set up a phone call." COHEN subsequently received a calendar

invitation for a telephone call with Novartis Executive 1 on or about February 10, 2017.

       61.    On or about February 13, 2017, COHEN sent an email from the Target Account

to Novartis Executive 1 with the subject ''Novartis Consulting Arrangement," writing that he was

attaching "my pro forma consulting agreement." Over the subsequent days, emails indicate that

COHEN and different employees from Novartis negotiated the terms of a contract. On or about

February 15, 2017, another Novartis executive ("Novartis Executive 2") sent an internal email to

another Novartis executive ("Novartis Executive 3"):

               I just spoke with Michael Cohen a few minutes ago. He is generally
               fine with the contract, but want some changesto [sic] the Statement
               of Work, which he wanted to be more consulting/advisory and less
               lobbying. He made clear that he would not be lobbying for us (or
               others) and that he would not be registering as a lobbyist.

On or about February 16, 2017, Novartis Executive 2 sent another email to Novartis Executive 3:

               I just spoke with Michael Cohen and received mark-ups of the
               Agreement and SOW [Statement of Work] from him . ...
               Regarding the SOW, he has pared it back substantially so that it no
               longer provides details as to precisely what he will do for us. I
               pushed him on this, but in his view it would be safer for both of us
               to say less.

       62.     On or about February 17, 2017, COHEN through the Target Account received an

email from Novartis Executive 2 with the subject "Re: Consulting Agreement" and the message

"Michael- Attached is our agreement, signed on behalf of Novartis International AG. This

version accepted all of the changes that you had sent to me ...." The attachment was a services



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agreement between Novartis and Essential Consultants. The agreement anticipates that Essential

Consultants will "provide consulting and advisory services to Novartis on matters that relate to the

repeal and replacement of the Affordable Care Act in the US and any other issues mutually

agreeable to [Essential Consultants] and Novartis." The contract also anticipates a "consulting fee

of One Million Two Hundred Thousand ($1,200,000) US dollars," to be paid to Essential

Consultants in even monthly installments over the course of a year.

       63.     On or about February 18, 2017, Novartis Executive 1 emailed another executive at

Novartis:

               Confidentially I have put Michael Cohen on retainer to Novartis. He
               is the former personal attorney 18 to the President, and was influential
               in the selections of most of the administration. He will provide
               access and advice for us, but will not lobby.... I want to use him to
               set up meetings when I am in Washington in May . . . . Please think
               through who we should meet and let me know. I will contact Michael
               and ask him to set up meetings.

        64.    On or about April 2, 2017, Novartis Executive 2 emailed Novartis Executive 1 and

stated that they wanted to assess COHEN's ability "to secure high-level government meetings"

within the Administration, and that there was "no need to divulge our relationship with [COHEN]."

               G.      Michael D. Cohen & Associates P.C.

        65 .   In addition to monies received through Essential Consultants, banking records

obtained through the course of the investigation show that during 2017 COHEN has received

significant payments through another corporation with the name "Michael D. Cohen & Associates

P.C." ("MDC&A"). Records from the New York State Department of State, Division of

Corporations show that on or about March 21, 2017, COHEN registered the new corporation




18At the time, COHEN still represented himself to be a personal attorney to the President. As of
November 2017, he continues to make such representations.


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"Michael D. Cohen & Associates, P.C." Bank 1 records also show that in or around March 2017,

COHEN opened a new bank account in the name of MDC&A. According to records obtained from

Bank 1, COHEN is the sole signatory on the bank account.

       66.    Records from Bank l that since approximately April 2017, approximately $291,666

has been maJe inlu lhe MDC&A account at Bank 1 from a bank account in the name of the law

firm Squire Patton Boggs, as summarized below:

                    DATE                                            AMOUNT

                 April5,2017                                        $41,666.67

                April 28, 2017                                      $4 1,666.67

                 May 31, 2017                                       $41 ,666.67

                 June 30, 2017                                      $41 ,666.67

                 July31,2017                                        $41,666.67

                August 31, 20 17                                     $41,666.67



Open-source records show that, on or about April 3, 2017, a press release from Squire Patton Boggs

announced that the law firm and MDC&A have entered into a "strategic alliance" that "will enable

the two firms to work together to advance the interests of their clients." A search of open-source

records has revealed no indication that this relationship has been terminated since April 2017.

       67.     Records obtained from another FDIC-insured financial institution ("Bank 6") show

that in or around March 2017, a new account was opened in the name of COHEN's wife (COHEN

is not identified as an account holder or signatory). Records from Bank 6 and another FDIC-insured

financial institution ("Bank 7") show that since February 2017, COHEN has received.over $280,000

through checks from President Trump, as summarized below:




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     APPROXIMATE DATE OF CHECK                                     AMOUNT

              February 14, 2017                                     $70,000

               March 17, 2017                                       $35,000

                May 23, 2017                                        $35,000

                 June 19, 2017                                      $35,000

                June 19, 2017                                       $35,000

                 July 11, 2017                                       $35,000

                August I, 2017                                       $35,000


In most cases, COHEN endorsed the check over to his wife, who deposited the check into the

account the account opened at Bank 6 in her sole name.

              H.      Recent Representations to Financial Institutions

       68.    According to Accountant 1, in or around early October 2017, COHEN directed

Accountant 1 to prepare another "Statement of Financial Condition" for Bank 5.19 On or about

October 6, 2017, Accountant 1 sent an email to COHEN at the Target Account. In the email,

Accountant 1 wrote that"[a]ttachedis a draft of the newPFS as at September 30, 2017" and attached

a draft of the personal financial statement. According to this statement, COHEN claimed that as of

September 30, 2017, he had assets of only $33,430,000 and liabilities of approximately

$45,630,000, leaving him purportedly over $12 million in debt.

       69.     In the October 6, 2017 email sent to COHEN at the Target Account, Accountant 1

warned COHEN that the financial statement did not list any assets associated with either Essential


19
   Records obtained from Bank 5 indicate that COHEN continues to negotiate over his $2 1 million
in medallion loans, which he and his wife have personally guaranteed. Information obtained from
Bank 5 indicates that COHEN has sought hundreds of thousands of debt relief from Bank 5 as part
of negotiation.


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Consultants or MDC&A: "[w]e did not add any value for you[r] two operating entities - Michael

D. Cohen & Associates POC [sic] and Essential Consultants LLC. Please advise whether or not

these should be disclosed and what value." According to Accountant I, in an earlier conversation

COHEN had stated generally that he expected to earn approximately $5-6 million a year through

Essential Cou:sullanl:s aml an additional $70,000 per month through MUC&A; however, COHEN

never provided Accountant 1 with any details.

       70.     On or about October 6, 2017, COHEN, using the Target Account, responded to

Accountant 1's email with the answer "[l]ooks good to me." COHEN never provided Accountant

1 with any instructions to list any assets associated with Essential Consultants or MDC&A.

Accountant 1 confirmed that neither entity was ever listed on the finalized Personal Financial

Statement, and that COHEN has not made any estimated tax payments on behalf of Essential

Consultants.

                     BACKGROUND CONCERNING GOOGLE MAIL

       71.     In my training and experience, I have learned that Google provides a variety of on-

line services, including electronic mail ("email") access, to the public. Google allows subscribers

to obtain email accounts at the domain name gmail.com, like the Target Account. Subscribers

obtain an account by registering with Google Mail. During the registration process, Google Mail

asks subscribers to provide basic personal information. Therefore, the computers of Google are

likely to contain stored electronic communications (including retrieved and unretrieved email for

Google Mail subscribers and information concerning subscribers and their use of Google Mail

services, such as account access information, email transaction information, and account

application information. In my training and experience, such information may constitute evidence




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of the crimes under investigation because the information can be used to identify the account's

user or users.

        72.      In my training and experience, email providers generally ask their subscribers to

provide certain personal identifying information when registering for an email account. Such

information can include the subscriber's full name, physical address, telephone numbers and other

identifiers, alternative email addresses, and, for paying subscribers, means and source of payment

(including any credit or bank account number). In my training and experience, such information

may constitute evidence of the crimes under investigation because the information can be used to

identify the account's user or users. Based on my training and my experience, I know that, even

if subscribers insert false information to conceal their identity, this information often provides

clues to their identity, location, or illicit activities.

        73.      In my training and experience, email providers typically retain certain transactional .

information about the creation and use of each account on their systems. This information can

include the date on which the account was created, the length of service, records of log-in (i.e.,

session) times and durations, the types of service utilized, the status of the account (including

whether the account is inactive or closed), the methods used to connect to the account (such as

logging into the account via the provider's website), and other log files that reflect usage of the

account. In addition, email providers often have records of the Internet Protocol address ("IP

address") used to register the account and the IP addresses associated with particular logins to the

account. Because every device that connects to the Internet must use an IP address, IP address

information can help to identify which computers or other devices were used to access the email

account.




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with professional responsibility requirements concerning the maintenance of attorney-client and

other operative privileges. The procedures include use of a designated "filter team," separate and

apart from the investigative team, in order to address potential privileges.

                                         CONCLUSION

       79.     I3ased on the forgoing, I rt:quest that the Court issue the proposed search warrant.

                                   REQUEST FOR SEALING

       80.     I further request that the Court order that all papers in support of this application,

including the application, affidavit and search warrant, be sealed until further order of the Court.

These documents discuss an ongoing criminal investigation that is neither public nor known to

all of the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may give targets an opportunity to flee/continue flight from

prosecution, destroy or tamper with evidence, change patterns of behavior, notify confederates,

or otherwise seriously jeopardize the investigation.

                                       Respectfully submitted,




                                       Special Agent
                                       Federal Bureau of Investigation



Subscribed and sworn to before me on this 11.!day ofNovember, 20 17.



                                            /~r(t- . d ~
                                       The Honorable Beryl A. Howell
                                       Chief United States District Judge




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                                   ATTACHMENT A

      This warrant applies to information associated with the Google Mail Account

              gmail.com that is stored at premises owned, maintained, controlled, or operated

by Google, a company headquartered at 1600 Amphitheatre Parkway, Mountain View, CA 94043.




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                                         ATTACHMENT B

   I.        Information to be disclosed by Google
        To the extent that the information described in Attachment A is within the possession,
custody, or control of the Google (hereinafter "the Provider"), regardless of whether such
information is stored, held or maintained inside or outside of the United States, and including any
emails, records, files, logs, or information that have been deleted but are still available to the
Provider, the Provider is required to disclose the following information to the government for each
account or identifier listed in Attachment A:
        a.      The contents of all emails associated with the account, including stored or preserved
                copies of emails sent to and from the account, draft emails, the source and
                destination addresses associated with each email, the date and time at which each
                email was sent, and the size and length of each email;
        b.      All records or other information regarding the identification of the account, to
                include full name, physical address, telephone numbers and other identifiers,
                records of session times and durations, the date on which the account was created,
                the length of service, the IP address used to register the account, log-in IP addresses
                associated with session times and dates, account status, alternative email addresses
                provided during registration, methods of connecting, log files, and means and
                source of payment (including any credit or bank account number);
        c.      The types of service utilized;
        d.      All records or other information stored at any time by an individual using the
                account, including address books, contact and buddy lists, calendar data, pictures,
                and files;
        e.      All records pertaining to communications between the Provider and any person
                regarding the account, including contacts with support services and records of
                 actions taken; and other identifiers, records of session times and durations, the date
                 on which the account was created, the length of service, the types of service utilized,
                the IP address used to register the account, log-in IP addresses associated with
                 session times and dates, account status, a1temative e-mail -addresses provided
                 during registration, all other user names associated with the account, all account
                 names associated with the subscriber, methods of connecting;


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         f.       All search history or web history;
         g.        All records indicating the services available to subscribers of the accounts;
         h.        All usernames associated with or sharing a login IP address or browser cookie with
                   the accounts;
         1.        All cookies, including third-party cookies, associated with the user;
         J.        All records that are associated with the machine cookies associated with the user;
                   and
         k.        All telephone or instrument numbers associated with the Account (including MAC
                   addresses, Electronic Serial Numbers ("ESN"), Mobile Electronic Identity
                   Numbers ("MEIN"), Mobile Equipment Identifier ("MEID"), Mobile Identification
                   Numbers ("MIN"), Subscriber Identity Modules ("SIM"), Mobile Subscriber
                   Integrated Services Digital Network Number ("MSISDN"), International Mobile
                   Subscriber Identifiers ("IMSI"), or International Mobile Equipment Identities
                   ("IMEI").
   II.          Information to be Seized by the Government
         All information described above in Section I that constitutes evidence, contraband, fruits,
and/or instrumentalities of violations of 18 U.S.C. § 1014 (false statements to a financial
institution), 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1344 (bank fraud), and 18 U.S .C. § 1956
(money laundering), as well as 18 U.S.C . § 951 (acting as an unregistered foreign agent) and the
Foreign Agents Registration Act ("FARA"), 22 U.S.C. § 611 et seq., involving Michael Dean
Cohen and occurring on or after June 1, 2015, including, for each account or identifier listed on
Attachment A, information pertaining to the following matters:
          a.       Communications, records, documents, and other files involving Essential
                   Consultants, LLC;
          b.       Communications, records, documents, and other files that false representations to a
                   financial institution with relation to intended the purpose of an account or loan at
                   that financial institution; the nature of any business or entity associated with an
                   account a financial institution; the source of funds flowing into an account; or the
                   purpose or nature of any financial transactions involving that financial institution;




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       c.          Records of any funds or benefits received by or offered to Michael Dean Cohen by,
                   or on behalf of, any foreign government, foreign officials, foreign entities, foreign
                    persons, or foreign principals;
       d.          Communications, records, documents, and other files that reveal efforts by Michael
                    Dean Cohen to conduct activities on behalf of, for the benefit of, or at the direction
                   of any foreign government, foreign officials, foreign entities, foreign persons, or
                   foreign principals;
       e.          Evidence indicating how and when the account was accessed or used, to determine
                   the geographic and chronological context of account access, use, and events relating
                   to the crimes under investigation and to the account owner;
          f.        Evidence indicating the account owner' s state of mind as it relates to the crimes
                    under investigation;
          g.        The identity of the person(s) who created or used the account, including records
                    that help reveal the whereabouts of such person(s); and
          h.        The identity of any person(s)-including records that help reveal the whereabouts
                    of the person(s)-who communicated with the account about any matters relating
                    to activities conducted by Michael Dean Cohen on behalf of, for the benefit of, or
                    at the direction of any foreign government, foreign officials, foreign entities,
                    foreign persons, or foreign principals.
   III.          Review Protocols
          Review of the items described in Attachment A and Attachment B shall be conducted
pursuant to established procedures designed to collect evidence in a manner consistent with
professional responsibility requirements concerning the maintenance of attorney-client and other
operative privileges. When appropriate, the procedures shall include use of a designated "filter
team," separate and apart from the investigative team, in order to address potential privileges.




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AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                   District of Columbia

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )      Case: 1: 17-mj-00855
               or identify the person by name and address)                      )
                                                                                       Assigned To : Chief Judge Howell, Beryl A.
         INFORMATION ASSOCIATED WITH THE EMAIL                                  )
                                                                                       Assign. Date : 11/13/2017
            ACCOUNT              GMAIL.COM                                      )
                                                                                )      Description: Search and Seizure Warrant

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Northern           District of               California
(idenrify the person or describe the property to be searched and give its location):


      See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized) :

      See Attachment B.




         YOU ARE COMMANDED to execute this warrant on or before                November 20, 2017        (not to exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       Hon. Beryl A. Howell
                                                                                                   (United States Magistrate Judge)

     D Pursuant to 18 U.S.C. § 3103a(b ), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:
                                                                                                           Judge 's signature

City and state:              Washington , DC                                               Hon . Beryl A. Howell, Chief U.S. District Judge
                                                                                                         Printed name and title
                        Case 1:19-mc-00044-BAH Document 27 Filed 07/19/19 Page 38 of 48

AO 93 (Rev. 11 / 13) Search and Seizure Warrant (Page 2)


                                                                      Return
Case No.:                                  Date and time warrant executed:         Copy of warrant and inventory left with:


Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:




                                                                   Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



 Date:
                                                                                           Executing officer 's signature


                                                                                              Printed name and title
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                                   ATTACHMENT A

      This warrant applies to information associated with the Google Mail Account

            @gmail.com that is stored at premises owned, maintained, controlled, or operated

by Google, a company headquartered at 1600 Amphitheatre Parkway, Mountain View, CA 94043.
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                                         ATTACHMENT B

   I.         Information to be disclosed by Google
         To the extent that the information described in Attachment A is within the possession,
custody, or control of the Google (hereinafter "the Provider"), regardless of whether such
information is stored, held or maintained inside or outside of the United States, and including any
emails, records, files, logs, or information that have been deleted but are still available to the
Provider, the Provider is required to disclose the following information to the government for each
account or identifier listed in Attachment A:
         a.      The contents of all emails associated with the account, including stored or preserved
                 copies of emails sent to and from the account, draft emails, the source and
                 destination addresses associated with each email, the date and time at which each
                 email was sent, and the size and length of each email;
         b.      All records or other information regarding the identification of the account, to
                 include full name, physical address, telephone numbers and other identifiers,
                 records of session times and durations, the date on which the account was created,
                 the length of service, the IP address used to register the account, log-in IP addresses
                 associated with session times and dates, account status, alternative email addresses
                 provided during registration, methods of connecting, log files, and means and
                 source of payment (including any credit or bank account number);
         C.      The types of service utilized;
         d.      All records or other information stored at any time by an individual using the
                 account, including address books, contact and buddy lists, calendar data, pictures,
                 and files;
         e.      All records pe1taining to communications between the Provider and any person
                 regarding the account, including contacts with support services and records of
                 actions taken; and other identifiers, records of session times and durations, the date
                 on which the account was created, the length of service, the types of service utilized,
                  the IP address used to register the account, log-in IP addresses associated with
                 session times and dates, account status, alternative e-mail addresses provided
                 during registration, all other user names associated with the account, all account
                  names associated with the subscriber, methods of connecting;


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         f.      All search history or web history;
         g.      All records indicating the services available to subscribers of the accounts;
         h.      All usernames associated with or sharing a login IP address or browser cookie with
                 the accounts;
         1.      All cookies, including third-party cookies, associated with the user;
         J.      All records that are associated with the machine cookies associated with the user;
                 and
         k.      All telephone or instrument numbers associated with the Account (including MAC
                 addresses, Electronic Serial Numbers ("ESN"), Mobile Electronic Identity
                 Numbers ("MEIN"), Mobile Equipment Identifier ("MEID"), Mobile Identification
                 Numbers (" MIN"), Subscriber Identity Modules ("SIM"), Mobile Subscriber
                 Integrated Services Digital Network Number ("MSISDN"), International Mobile
                 Subscriber Identifiers ("IMSI"), or International Mobile Equipment Identities
                 ("IMEi").
   II.        Information to be Seized by the Government
         All infonnation described above in Section I that constitutes evidence, contraband, fruits,
and/or instrumentalities of violations of 18 U.S.C. § 1014 (false statements to a financial
institution), 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1344 (bank fraud), and 18 U.S.C. § 1956
(money laundering), as well as 18 U.S.C. § 951 (acting as an unregistered foreign agent) and the
Foreign Agents Registration Act ("FARA"), 22 U.S.C. § 611 et seq., involving Michael Dean
Cohen and occurring on or after June 1, 2015, including, for each account or identifier listed on
Attachment A, information pertaining to the fo llowing matters:
         a.      Communications, records, documents, and other files involving Essential
                 Consultants, LLC;
         b.      Communications, records, documents, and other files that false representations to a
                 financial institution with relation to intended the purpose of an account or loan at
                 that financial institution; the nature of any business or entity associated with an
                 account a financial institution ; the source of funds flowing into an account; or the
                 purpose or nature of any financial transactions involving that financial institution;




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       c.        Records of any funds or benefits received by or offered to Michael Dean Cohen by,
                 or on behalf of, any foreign government, foreign officials, foreign entities, foreign
                  persons, or foreign principals;
       d.        Communications, records, documents, and other files that reveal efforts by Michael
                  Dean Cohen to conduct activities on behalf of, for the benefit of, or at the direction
                 of any foreign government, foreign officials, foreign entities, foreign persons, or
                 foreign principals;
          e.      Evidence indicating how and when the account was accessed or used, to determine
                  the geographic and chronological context of account access, use, and events relating
                  to the crimes under investigation and to the account owner;
          f.      Evidence indicating the account owner's state of mind as it relates to the crimes
                  under investigation;
          g.      The identity of the person(s) who created or used the account, including records
                  that help reveal the whereabouts of such person(s); and
          h.      The identity of any person(s)-including records that help reveal the whereabouts
                  of the person(s)-who communicated with the account about any matters relating
                  to activities conducted by Michael Dean Cohen on behalf of, for the benefit of, or
                  at the direction of any foreign government, foreign officials, foreign entities,
                  foreign persons, or foreign principals.
   III.        Review Protocols
          Review of the items described in Attachment A and Attachment B shall be conducted
pursuant to established procedures designed to collect evidence in a manner consistent with
professional responsibility requirements concerning the maintenance of attorney-client and other
operative privileges. When appropriate, the procedures shall include use of a designated "filter
team," separate and apart from the investigative team, in order to address potential privileges.




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN THE MA TIER OF THE SEARCH OF                        Case: 1:17-mj-00855
INFORMATION ASSOCIATED WITH THE                        Assigned To : Chief Judge Howell, Beryl A
EMAIL ACCOUNT                                          Assign. Date : 11/13/2017
            @GMAIL.COM                                 Description: Search and Seizure Warrant


            MOTION TO SEAL WARRANT AND RELATED DOCUMENTS AND
              TO REQUIRE NON-DISCLOSURE UNDER 18 U.S.C. § 2705(b)

       The United States of America, moving by and through its undersigned counsel, respectfully

moves the Court for an Order placing the above-captioned warrant and the application and affidavit

in support thereof (collectively herein the "Warrant") under seal, and precluding the provider from

notifying any person of the Warrant pursuant to 18 U.S.C. § 2705(b). In regard to the non-

disclosure, the proposed Order would direct Google, an electronic communication and/or remote

computing services provider headquartered at 1600 Amphitheatre Parkway, Mountain View, CA

94043, not to notify any other person (except attorneys for Google for the purpose of receiving

legal advice) of the existence or content of the Warrant for a period of o~e year unless otherwise

ordered of the Court.

                        JURISDICTION AND LEGAL BACKGROUND

       1.      The Court has the inherent power to seal court filings when appropriate,

including the Warrant. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing

Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978)). The Court may also seal the

Warrant to prevent serious jeopardy to an ongoing criminal investigation when, as in the present

case, such jeopardy creates a compelling governmental interest in preserving the confidentiality of

the Warra.!_lt. See Washi71gton Post v. R_gbinsol'b 935 F.2d 282, 28]-89 (D.C. Cir. 1991).
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       deems appropriate, not to notify any other person of the existence of the warrant,
       subpoena, or court order. The court shall enter such an order if it determines that
       there is reason to believe that notification of the existence of the warrant, subpoena,
       or court order will result in-
           (1) endangering the life or physical safety of an individual;
           (2) flight from prosecution;
           (3) destruction of or tampering with evidence;
           (4) intimidation of potential witnesses; or
           (5) otherwise seriously jeopardizing an investigation or unduly delaying a trial.

18 U.S.C. § 2705(b). The United States District Court for the District of Columbia has made clear

that a nondisclosure order under Section 2705(b) must be issued once the Government makes the

requisite showing about potential consequences of notification:

       The explicit terms of section 2705(b) make clear that if a courts [sic] finds that there
       is reason to believe that notifying the customer or subscriber of the court order or
       subpoena may lead to one of the deleterious outcomes listed under § 2705(b), the
       court must enter an order commanding a service provider to delay notice to a
       customer for a period of time that the court determines is appropriate. Once the
       government makes the required showing under § 2705(b), the court is required to
       issue the non-disclosure order.

In re Application for Order of Nondisclosure Pursuant to 18 USC. § 2705(b) for Grand Jury

Subpoena #GJ2014031422765, 41 F. Supp. 3d 1, 5 (D.D.C. 2014).

       5.      Accordingly, this motion to seal sets forth facts showing reasonable grounds to

command Google not to notify any other person (except attorneys for Google for the purpose of

receiving legal advice) of the existence of the Subpoena for a period of one year or until further

order of the Court.

                 FACTS SUPPORTING SEALING AND NON-DISCLOSURE

       6.      At the present time, law enforcement officers of the FBI are conducting an

investigation into violations related to 18 U.S.C. § 1014 (false statements to a financial institution),

18 U.S.C. § 1344 (bank fraud), 18 U.S.C. § 1956 (money laundering), as well as 18 U.S.C. § 951

(acting as an unregistered foreign agent) and the Foreign Agents Registration Act ("FARA"), 22



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U.S.C. § 611 et seq. arising out of the conduct of Michael D. Cohen. It does not appear that Cohen

is currently aware of the nature and scope of the ongoing FBI investigation into him.

                         REQUEST FOR SEALING AND NON-DISCLOSURE

       7.      In this matter, the government requests that the Warrant be sealed until further order

of the Court and that Google and its employees be directed not to notify any other person of the

existence or content of the Warrant (except attorneys for Google for the purpose of receiving legal

advice) for a period of one year or until further order of the Court. Such an order is appropriate

because the Warrant relates to an ongoing criminal investigation, the full scope of which is neither

public nor known to the targets of the investigation, and its disclosure may alert these targets to

the ongoing investigation and its scope. Once alerted to this investigation, potential targets would

be immediately prompted to destroy or conceal incriminating evidence, alter their operational

tactics to avoid future detection, and otherwise take steps to undermine the investigation and avoid

future prosecution. In particular, given that they are known to use electronic communication and

remote computing services, the potential target could quickly and easily destroy or encrypt digital

evidence relating to their criminal activity.

        8.     Given the complex and sensitive nature of the criminal activity under investigation,

and also given that the criminal scheme may be ongoing, the Government anticipates that this

confidential investigation will continue for the next year or longer.             However, should

circumstances change such that court-ordered nondisclosure under Section 2705(b) becomes no

longer needed, the Government will notify the Court and seek appropriate relief.

        9.     There is, therefore, reason to believe that notification of the existence of the

Warrant will seriously jeopardize the investigation, including by giving the targets an opportunity

to flee from prosecution, destroy or tamper with evidence, and intimidate witnesses. See 18 U.S.C.



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§ 2705(b)(2)-(5). Because of such potential jeopardy to the investigation, there also exists a

compelling governmental interest in confidentiality to justify the government' s sealing request.

See Robinson, 935 F.2d at 287-89.

         10.    Based on prior dealings with Google the United States is aware that, absent a court

order under Section 2705(b) commanding Google not to notify anyone about a legal request, it is

Google's policy and practice, upon receipt of a warrant seeking the contents of electronically

stored wire or electronic communications for a certain account, to notify the subscriber or customer

of the existence of the warrant prior to producing the material sought.

         WHEREFORE, for all the foregoing reasons, the government respectfully requests that the

above-captioned warrant, the application and affidavit in support thereof, and all attachments

thereto and other related materials be placed under seal, and furthermore, that the Court command

Google not to notify any other person of the existence or contents of the above-captioned warrant

(except attorneys for Google for the purpose of receiving legal advice) for a period of one year

unless otherwise ordered by the Court.

                                                      Respectfully submitted,



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                                                      ROBERTS. MUELLER, III


Dated:




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                                                                                                            ED
                         TN THE UNITED STATES DISTRICT COURT                                    NOV l 3 2017
                             FOR THE DISTRICT OF COLUMBIA
                                                                                        Clerk, U.S. -Distrtcr& ·sankrupto
                                                                                       Courts for the Dlstrlrt~! CDJumbra
 IN THE MATTER OF THE SEARCH OF
 rNFORMA TfON ASSOC IATED WITH THE                        Case: 1: 17-mj-00855
 EMAIL ACCOUNT                                            Assigned To : Chief Judge Howell, Beryl A.
            @GMAIL.COM                                    Assign. Date: 11/13/2017
                                                          Description: Search and Seizure Warrant


                                               ORDER

       The United States has filed a motion to seal the above-captioned warrant and related

documents, including the application and affidavit in support thereof ( collectively the "Warrant"),

and to require Google, an electronic communication and/or remote computing services

headquartered at 1600 Amphitheatre Parkway, Mountain View, CA 94043 nofto disclose the

existence or contents of the Warrant pursuant to 18 U.S.C. § 2705(b).

       The Court finds that the United States has established that a compelling governmental

interest exists to justify the requested sealing, and that there is reason to believe that notification

of the existence of the Warrant will seriously jeopardize the investigation, including by giving.the

targets an opportunity to flee from prosecution, destroy or tamper with evidence, _and intimidate

witnesses. See 18 U.S.C. § 2705(b)(2)-(5).

       IT IS THEREFORE ORDERED that the motion is hereby GRANTED, and that the

warrant, the application and affidavit in support thereof, all attachments thereto and other related

materials, the instant motion to seal, and this Order be SEALED until further order of the Court;

and
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       IT IS FURTHER ORDERED that, pursuant to 18 U.S.C. § 2705(b), Google and its

em ployees shall not disclose the existence or content of the Warrant to any other person (except

attorneys for Google for the purpose of receiving legal adv ice) for a period of one year unless

otherwise ordered by the Court.




                                     THE HON0BLEBERYLA. HOWELL
                                     CHIEF UNITED STA TES DISTRICT JUDGE




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